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                     THE UNITED STATES DISTRICT COURT

               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :

       v.                                  : CRIMINAL NO. 16-503

DINO PAOLUCCI                              :


              GOVERNMENT’S RESPONSE IN OPPOSITION TO
              DEFENDANT’S MOTION TO REDUCE SENTENCE
            PURSUANT TO 18 U.S.C. §§ 3582(c)(1)(A)(i) AND 3582(c)(2)


       Defendant Dino Paolucci seeks compassionate release under 18 U.S.C.

§ 3582(c)(1)(A)(i). This motion should be denied, given that the defendant does not

present an “extraordinary and compelling reason” allowing consideration under the

statute for this exceptional remedy.

       Paolucci also seeks a sentence reduction under 18 U.S.C. § 3582(c)(2), based on a

retroactive guideline provision concerning offenders who present zero criminal history

points. Paolucci is eligible for consideration for a reduction under this provision, but the

government suggests that the Court in the exercise of its discretion should deny relief.

I.     Background.

       A.     Criminal Conduct.

       Dino Paolucci orchestrated an elaborate “pump and dump” scheme, in which he

and a number of confederates engaged in extensive and complex stock manipulation to

artificially inflate the price of stocks and then sell the shares to unknowing buyers. The
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scheme caused losses in the market of at least $25 million, and Paolucci himself profited

to the tune of at least $3.8 million.

       Paolucci and his co-schemers successfully manipulated the stock of several public

companies, including AGR Tools Inc. (“AGRT”), LiveWire Ergogenics, Inc. (“LVVV”),

YaFarm Technologies (“YFRM”), Resource Ventures, Inc. (“REVI”), and Medical

Cannabis Payment Solutions (“REFG”). The securities of these companies were publicly

quoted on the OTC Bulletin Board (“OTCBB”) and/or OTC Markets platforms, including

two of its markets: OTXQB and OTC Pink (formerly referred to as the “Pink Sheets”), or

their predecessors.

       Paolucci, a stock promoter, orchestrated a scheme in which his co-schemers

gained control of the vast majority of restricted shares (which cannot be freely traded in

the market) and free trading shares (which can be freely traded) of companies that traded

on the over-the-counter (“OTC”) markets, in order to control the timing, volume, and

price of stock available for trading. This then enabled the schemers to make maximum

profits by selling the shares at inflated prices during stock promotions they orchestrated.

They used coordinated trades among scheme participants in conjunction with false and

misleading press releases to create the false appearance of interest in the companies, to

increase stock prices and sales. Paolucci did not own any stock himself—the stock was

owned by his co-schemers. He did, however, receive 60 percent of the proceeds of the

stock sales.

       Paolucci, a Canadian citizen, oversaw virtually every aspect of the scheme. He

demanded proof of who held which stock and where the stocks were held, had an

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intermediary accept stock and payments from his co-schemers to avoid detection,

directed when false and misleading statements would be included in press releases, and

controlled the timing of trades and the accounts out of which those trades would take

place. He and his co-schemers concealed their stock ownership and manipulations, as

well as the profits they were making as a result of these manipulations, from regulators

and the investing public, by using nominee corporations and individuals, as well as

intermediaries to buy and sell stock, deal with vendors, receive proceeds from

manipulations, and distribute those proceeds. At various times, Paolucci also used the

false identity of Kevin Hood to disguise Paolucci’s own participation in stock deals. The

use of these corporate and individual nominees and intermediaries impeded the U.S.

Securities and Exchange Commission (the “SEC”) and investors from being able to

determine the identity of persons receiving the proceeds of the manipulations, and also

made it less likely that victims would be able to file actions against the schemers to

obtain injunctive relief, civil monetary penalties, and other relief.

       Through nominees, Paolucci himself received approximately $3.8 million between

mid-June 2012 and September 2013. The loss to others could not be pinpointed, given the

large volume of fraudulently traded stock and huge number of victims in the market. But

the total loss was estimated as between $25 million and $65 million, as follows:

       The total loss of the charged and stipulated conduct is between $25,000,000.00
       and $65,000,000.00. The stipulated loss is based upon a calculation of the actual
       loss in this case. This actual loss was determined by calculating the sum of the
       value of the shares of AGRT, LVVV, YFRM, REVI, and REFG traded during the
       period over which each stock was manipulated.

PSR ¶ 72.

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       Pursuant to a plea agreement, Dino Paolucci pleaded guilty to Counts 22, 23, 24,

and 25 of an indictment alleging securities fraud based on his conduct, in violation of 15

U.S.C. §§ 78j(b), 78ff and 17 C.F.R. § 240.10b-5.

       B.     Sentencing.

       As part of his plea agreement the parties agreed that the base offense level was 7,

that 22 levels were added because the fraud loss from the scheme was between $25

million to $65 million, and that a two-level increase for mass marketing applied, and that

the defendant was entitled to a three-level decrease for acceptance of responsibility. The

final offense level of 28, criminal history category I resulted in an advisory guideline

range of 78-97 months.

       On December 10, 2019, Judge Robreno sentenced Paolucci to 84 months in

prison, and imposed the $2 million forfeiture judgment that the defendant had agreed to

in the plea agreement. As the defendant was a Canadian citizen who is subject to

removal, no supervised release was included in the sentence. No restitution was ordered

as based on the sheer number of stock sales it was deemed impractical to identify

individual victims.

       Under the terms of the plea agreement, if the defendant paid the full forfeiture

amount prior to the time the U.S. Attorney’s Office received notification from the Office

of International Affairs that the defendant had applied for transfer to a Canadian prison,

the U.S. Attorney’s Office would not object to the transfer. The defendant, who received

much of his money prior via intermediaries, did not pay any money towards his forfeiture

obligation – apparently because his family did not come through as expected despite

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apparently having the resources to do so – but did apply for transfer to a Canadian prison.

Our office objected, and the transfer was not approved.

       Paolucci is serving his sentence at FCI Elkton, with a minimum release date of

July 22, 2025. He has served approximately 53 months, and has credit for good conduct

time of approximately 12 months, for total time served of approximately 65 months. He

has committed one minor disciplinary infraction, on January 19, 2021, for failing to obey

an order.

II.    Request for Compassionate Release.

       The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by the

First Step Act on December 21, 2018, provides in pertinent part:

       (c) Modification of an Imposed Term of Imprisonment.—The court may not
       modify a term of imprisonment once it has been imposed except that—

       (1) in any case—

       (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment (and may impose a term of probation or supervised release with or
       without conditions that does not exceed the unserved portion of the original term
       of imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that—

       (i) extraordinary and compelling reasons warrant such a reduction . . .

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

Further, 28 U.S.C. § 994(t) provides: “The Commission, in promulgating general policy

statements regarding the sentencing modification provisions in section 3582(c)(1)(A) of

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title 18, shall describe what should be considered extraordinary and compelling reasons

for sentence reduction, including the criteria to be applied and a list of specific examples.

Rehabilitation of the defendant alone shall not be considered an extraordinary and

compelling reason.”1

       The Sentencing Guidelines policy statement appears at § 1B1.13, and provides

that the Court may grant release if “extraordinary and compelling circumstances” exist,

“after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that they are

applicable,” and the Court determines that “the defendant is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

       In his motion, Paolucci avers that the guideline policy statement is not binding,

and that this Court may grant relief based on any circumstance it deems extraordinary.

Paolucci then proceeds to reargue the appropriate sentence in this case, canvassing each




       1
        The inmate does not have a right to a hearing. Rule 43(b)(4) of the Federal Rules
of Criminal Procedure states that a defendant need not be present where “[t]he
proceeding involves the correction or reduction of sentence under Rule 35 or 18 U.S.C.
§ 3582(c).” See Dillon v. United States, 560 U.S. 817, 827-28 (2010) (observing that,
under Rule 43(b)(4), a defendant need not be present at a proceeding under 18 U.S.C.
§ 3582(c)(2)).

       Further, this Court does not have authority to grant a transfer to home
confinement, or review BOP’s administrative decision regarding that issue. See 18 U.S.C.
§ 3621(b) (BOP’s designation decision is not subject to judicial review); see also, e.g.,
United States v. Aguibi, 858 Fed. App’x 485, 486 n.2 (3d Cir. 2021) (not precedential;
per curiam) (“To the extent that Aguibi requested a transition to home confinement, the
Bureau of Prisons has the sole authority to place a prisoner in home confinement.”);
United States v. Saunders, 986 F.3d 1076, 1078 (7th Cir. 2021); United States v. Houck, 2
F.4th 1082, 1085 (8th Cir. 2021); United States v. Gray, 2020 WL 6822949, at *2 (E.D.
Pa. Nov. 20, 2020) (Sanchez, C.J.).
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of the 18 U.S.C. § 3553(a) factors, as if this were an initial sentencing proceeding and

this Court were free at any time to revisit the case.

       This approach is wrong. To be sure, prior to November 1, 2023, the Sentencing

Commission had not updated its pertinent policy statement, § 1B1.13, since Congress

amended the compassionate release statute in 2018. Accordingly, courts held that the

earlier policy statement was not binding during that period, but could be considered as

advisory. United States v. Andrews, 12 F.4th 255, 260 (3d Cir. 2021).

       But significantly, the Commission has now updated the policy statement, to

address prisoner-filed motions authorized by the 2018 amendment, and specify the

circumstances that qualify as “extraordinary and compelling.” Under the compassionate

release statute, this policy statement must now be deemed binding. The statute,

§ 3582(c)(1)(A)(i), states that a reduction in sentence must be “consistent with applicable

policy statements issued by the Sentencing Commission . . . .” The amended policy

statement is now applicable. See Dillon v. United States, 560 U.S. 817, 821 (2010)

(holding that under the materially identical provision in 18 U.S.C. § 3582(c)(2) regarding

application of retroactive guideline amendments that the criteria stated by the Sentencing

Commission are binding). See also, e.g., United States v. Diamond, 2023 WL 8724142, at

*2 (S.D. Iowa Dec. 19, 2023) (Rose, C.J.) (the newly amended compassionate release

guideline is now binding, as “under § 3582(c)(1)(A)’s plain language, any reduction in

sentence under this section must be ‘consistent’ with the Commission’s policy statement

in USSG § 1B1.13.”); United States v. Eggleston, 2023 WL 8716876, at *4 (D. Md. Dec.

18, 2023) (Hollander, J.) (same).

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        Compassionate release is an extraordinary remedy that stands as a narrow

exception to the basic rule that federal sentences are determinate and final. The type of

reevaluation Paolucci seeks is not permitted. Rather, he is eligible for consideration only

if he presents one of the extraordinary circumstances described in Section 1B1.13, which

addresses medical, family, and age circumstances, as well as inmates who suffer abuse in

prison. Paolucci does not present any of these circumstances, or anything comparable to

them.

        Besides his general discussion of 3553(a) factors, he addresses three subjects,

none of them sufficient to allow consideration for compassionate release.

        1.      Paolucci asserts that the guideline range in this case would be lower, based

on the decision in United States v. Banks, 55 F.3d 246 (3d Cir. 2022), that the definition

of “loss” in U.S.S.G. § 2B1.1 encompasses only actual loss, not intended loss. That is not

a basis for compassionate release; the amended guideline makes clear that a change in

law is not an extraordinary circumstance, except in limited circumstances not present

here (i.e., where the defendant has served at least 10 years in custody on a sentence that

would be grossly disparate today). § 1B1.13(b)(6), (c). And Paolucci’s sentence in fact

would be the same today. As explained earlier, his sentence was indeed based on actual

loss, not intended loss.2



        2
         We note that the decision in Banks rested not on the seriousness of offenses that
involve intended loss, but simply application of a rule of administrative law that agency
commentary to a regulation may not expand on an otherwise unambiguous regulation.
Whether that rule even applies to application of the Guidelines has divided the Circuits.
                                                                                continued . . .
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       2.     Paolucci states that he may not receive time credits allowed by the First

Step Act for participation in recidivism reduction programs, because he is subject to

removal and no sentence of supervised release was imposed. That too is not an

extraordinary situation described in the controlling guideline. See, e.g., United States v.

Singh, 2023 WL 9004911, at *2 (E.D. Mich. Dec. 28, 2023) (Drain, J.) (the inability to

apply FSA time credits is not a circumstance that is “similar in gravity” to the reasons

listed in the guideline); United States v. Pina, 2023 WL 8759830 (S.D.N.Y. Dec. 19,

2023) (Marrero, J.) (same).

       3.     Finally, Paolucci seeks relief based on the harshness of the conditions in

prison during the pandemic, involving occasional lockdowns and other ameliorative

measures taken to mitigate the spread of COVID-19. But these circumstances are not

unique to him, but rather were faced by all inmates as part of BOP’s strenuous campaign

to battle the pandemic. Courts in this Circuit have therefore consistently denied such a

claim for relief. A panel of the Third Circuit did so in United States v. Robinson, stating,

“Robinson did not point to any health conditions placing him at a higher risk of serious

illness from COVID-19, nor did he describe any circumstances setting him apart from

other incarcerated individuals. Robinson’s generalized concerns are insufficient to

constitute extraordinary and compelling reasons. See United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020) (explaining that ‘the mere existence of COVID-19 in society and the



In cases affected by Banks, the government will readily seek an upward variance so that
the sentence captures the true seriousness of the offense. But that would not be necessary
here, where the case involved actual loss.
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possibility that it may spread to a particular prison alone cannot independently justify

compassionate release’).” United States v. Robinson, 2022 WL 11005332, at *1 (3d Cir.

2022) (not precedential). Accord United States v. Hernandez, 2022 WL 910091, at *5-6

(E.D. Pa. Mar. 28, 2022) (Leeson, J.) (prison conditions during the pandemic do not

present grounds for compassionate release absent a showing of unique harm to the

petitioner); United States v. Gupton, 2022 WL 3448233, at *2 (E.D. Pa. Aug. 16, 2022)

(Beetlestone, J.); United States v. Brunson, 2022 WL 3756198, at *5 (E.D. Pa. Aug. 30,

2022) (Jones, J.); United States v. Johnson, 2021 WL 4120536, at *3 (S.D.N.Y. Sept. 9,

2021) (“[A]lthough the pandemic has made prison conditions harsher than usual, those

are circumstances that all inmates have had to endure. While the Court does not minimize

those difficulties, they do not rise to the level of extraordinary and compelling.”).

       In sum, Paolucci does not present any “extraordinary and compelling reason”

allowing consideration for compassionate release, and his motion for that relief should be

denied.

III.   Motion for Application of Retroactive Guideline Amendment.

       Separately, Paolucci seeks relief based on a retroactive amendment to the

Guidelines. This matter is controlled by a different statute, 18 U.S.C. § 3582(c)(2).

       In Part B, Subpart 1 to Amendment 821 to the Sentencing Guidelines, the

Sentencing Commission added what now appears in Section 4A1.1(c), providing a 2-




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offense-level reduction for many offenders who present zero criminal history points. The

new provision states:

      § 4C1.1. Adjustment for Certain Zero-Point Offenders

      (a) ADJUSTMENT.—If the defendant meets all of the following criteria:

      (1) the defendant did not receive any criminal history points from Chapter Four,
      Part A;

      (2) the defendant did not receive an adjustment under §3A1.4 (Terrorism);

      (3) the defendant did not use violence or credible threats of violence in connection
      with the offense;

      (4) the offense did not result in death or serious bodily injury;

      (5) the instant offense of conviction is not a sex offense;

      (6) the defendant did not personally cause substantial financial hardship;

      (7) the defendant did not possess, receive, purchase, transport, transfer, sell, or
      otherwise dispose of a firearm or other dangerous weapon (or induce another
      participant to do so) in connection with the offense;

      (8) the instant offense of conviction is not covered by §2H1.1 (Offenses Involving
      Individual Rights);

      (9) the defendant did not receive an adjustment under §3A1.1 (Hate Crime
      Motivation or Vulnerable Victim) or §3A1.5 (Serious Human Rights Offense);
      and

      (10) the defendant did not receive an adjustment under §3B1.1 (Aggravating Role)
      and was not engaged in a continuing criminal enterprise, as defined in 21 U.S.C. §
      848;

      decrease the offense level determined under Chapters Two and Three by 2 levels.

      On August 24, 2023, the Commission decreed that this change applies

retroactively. The Commission further directed that a court granting relief may not order


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the release of a defendant to occur any earlier than February 1, 2024. See § 1B1.10(e)(2)

(Nov. 1, 2023).

       Upon application of the new provision to Paolucci, who had zero criminal history

points, his offense level is reduced by 2 levels to 26, and his advisory guideline range is

reduced to 63 to 78 months.

       Paolucci may therefore seek relief under 18 U.S.C. § 3582(c)(2), that provides:

       [I]n the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
       Director of the Bureau of Prisons, or on its own motion, the court may reduce the
       term of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with applicable
       policy statements issued by the Sentencing Commission.

       In Section 1B1.10 of the Guidelines, the Sentencing Commission has identified

the amendments which may be applied retroactively pursuant to this authority, including

Part B, Subpart 1 of Amendment 821, and articulated the proper procedure for

implementing those amendments.

       In Dillon v. United States, 560 U.S. 817 (2010), the Supreme Court addressed the

process for application of a retroactive guideline amendment, emphasizing that Section

1B1.10 is binding. The Court declared: “Any reduction must be consistent with

applicable policy statements issued by the Sentencing Commission.” Id. at 821. The

Court required district courts to follow a two-step approach:

       At step one, § 3582(c)(2) requires the court to follow the Commission’s
       instructions in §1B1.10 to determine the prisoner’s eligibility for a sentence
       modification and the extent of the reduction authorized. Specifically,
       §1B1.10(b)(1) requires the court to begin by “determin[ing] the amended
       guideline range that would have been applicable to the defendant” had the relevant

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       amendment been in effect at the time of the initial sentencing. “In making such
       determination, the court shall substitute only the amendments listed in subsection
       (c) for the corresponding guideline provisions that were applied when the
       defendant was sentenced and shall leave all other guideline application decisions
       unaffected.” Ibid.

       Consistent with the limited nature of § 3582(c)(2) proceedings, §1B1.10(b)(2) also
       confines the extent of the reduction authorized. Courts generally may “not reduce
       the defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) . . . to a term
       that is less than the minimum of the amended guideline range” produced by the
       substitution. §1B1.10(b)(2)(A). . . .

       At step two of the inquiry, § 3582(c)(2) instructs a court to consider any applicable
       § 3553(a) factors and determine whether, in its discretion, the reduction authorized
       by reference to the policies relevant at step one is warranted in whole or in part
       under the particular circumstances of the case.

Dillon, 560 U.S. at 827.

       Consistent with these rules, as noted, Paolucci is eligible for a reduction in

sentence, to a term no lower than 63 months, which is the bottom of the new guideline

range produced by application of the new zero-points provision. Here, where the original

range was 78 to 97 months, and Paolucci was sentenced to 84 months, an equivalent

sentence within the new range would be 68 months.

       But the government suggests that the Court, in the exercise of its discretion,

should deny relief. See, e.g., United States v. Vautier, 144 F.3d 756, 760 (11th Cir. 1998)

(“[t]he grant of authority to the district court to reduce a term of imprisonment is

unambiguously discretionary,” even when the guideline range is actually reduced);

United States v. Styer, 573 F.3d 151, 154-55 (3d Cir. 2009) (reduction is denied to

eligible defendant based on nature of original criminal conduct). Paolucci may have been

a “zero point” offender, in that he had no previous criminal conviction, but he engaged in


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very extensive criminal conduct in this case. This was far from a one-time, first-time

offense. To the contrary, the crimes continued for at least a full year, involving a labor-

intensive and intricate scheme that involved myriad steps and daily commitment. The

result was losses inflicted on numerous others in the tens of millions of dollars. In our

view, this is not the record of the type of offender deemed worthy of more lenient

treatment under the new zero-point provision, and the original sentence of 84 months

remains fully appropriate to address the defendant’s conduct. The government

accordingly recommends that the request for a reduction under Section 3582(c)(2), like

the motion for compassionate release, be denied.

                                           Respectfully yours,

                                           JACQUELINE C. ROMERO
                                           United States Attorney


                                           /s Robert A. Zauzmer
                                           ROBERT A. ZAUZMER
                                           Assistant United States Attorney
                                           Chief of Appeals


                                           /s Judy G. Smith
                                           JUDY G. SMITH
                                           PATRICK J. MURRAY
                                           Assistant United States Attorney




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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of this pleading has been served by first-class mail,

postage prepaid, upon:


                    Mr. Dino Paolucci
                    No. 42735-066
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                    P.O. Box 10
                    Lisbon, OH 44432



                                          /s Judy G. Smith
                                          JUDY G. SMITH
                                          Assistant United States Attorney


Dated: January 2, 2024
